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                                                                                     6/12/2025
MEMORANDUM ENDORSEMENT
Adams v. Town of Clarkstown et al
7:24-cv-05147 (NSR)
The Court is in receipt of Plaintiff’s letter, dated June 4, 2025, requesting a pre-motion conference
related to an anticipated motion to amend the Complaint. (ECF No. 55) (attached hereto). The
Court is also in receipt of Defendants’ letters in response (ECF Nos. 57-59) (attached hereto).

The Court waives the pre-motion conference and GRANTS Plaintiff’s consented to request to
amend the Complaint. Plaintiff shall have until July 3, 2025, to file an amended Complaint.
Defendants shall have until July 24, 2025, to file an answer or otherwise respond to the amended
Complaint. The pending motion to dismiss the original Complaint is hereby dismissed as
moot without prejudice to renew. The Clerk of Court is directed to terminate the motion at ECF
No. 37.

Dated: June 12, 2025
       White Plains, NY
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 JOSEPH A. ORLANDO*
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                                    DIRECT ALL CORRESPONDENCE TO P.O. BOX AT NY OFFICE

     Honorable Nelson S. Roman
     United States District Court
     Southern District of New York
     300 Quarropas Street
     White Plains, NY 10601

               Re:         Kevin Adams as the Administrator of the Estate of Sean Harris v. Town of
                           Clarkstown, et. al.
                           Docket No. 7:24-cv-05147-NRS

     Your Honor,

           We represent Defendant Rockland County in the above-captioned matter. We
     respectfully submit this letter in response to Plaintiff’s request for a pre-motion conference.

           Defendant Rockland County does not object to Plaintiff’s request for leave to amend
     the Complaint to add additional parties.

     Dated:                Port Chester, New York
                           June 9, 2025
                                                                     Yours, etc.,
                                                                     O’CONNOR REDD ORLANDO LLP

                                                                     By:____Peter Urreta___________
                                                                     PETER URRETA (PU1320)
                                                                     Attorneys for Defendant,
                                                                     ROCKLAND COUNTY
                                                                     P.O. Box 1000
                                                                     242 King Street
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     TO:       NEWMAN FERRARA LLP
               Attorneys for Plaintiff
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File No.: 12129.00334

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File No. 113.1073


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                                                                                       John M. Flannery
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                                                                           John.Flannery@wilsonelser.com


June 10, 2025


Via ECF
Hon. Charles L. Brieant Jr. Federal Building
and United States Courthouse
300 Quarropas St.
White Plains, New York 10601-4150

Attention:      Hon. Nelson S. Roman

        Re:     Kevin Adams, as the Administrator of the Estate of Sean Harris v. Town of
                Clarkstown, Police Officers Does #1-60, Police Supervisor Doe #1, Detective
                Norm Peters, Rockland County, Access Supporters for Living, Access Caseworkers
                Jane Does #1-2, Rockland Paramedics, Paramedics Does #1-2, Nyack Community
                Ambulance Corps, EMT Kelly McHugh, EMT Rosa Latanzo
                Docket No.: 7:24-cv-05147-NSR
                Our File No.: 12129.00334

Dear Judge Roman:

         We represent defendant, Town of Clarkstown, in connection with the above-referenced
matter. We write pursuant to this Court’s June 5, 2025 Order DE # 56 in response to Plaintiff’s
letter requesting a pre-motion conference for an anticipated motion to amend the Complaint.

        The Town does not believe a pre-motion conference is necessary, as the Town does not
oppose Plaintiff’s motion to amend the Complaint. However, the Town reserves all rights with
respect to objections and affirmative defenses and notes that, upon initial review, the proposed
amended complaint appears to contain a number of deficiencies, including inadequate allegations
of deliberate indifference, duplicative pleading of claims for excessive force under the Fourth
Amendment and violation of substantive due process under the Fourteenth Amendment (see
Graham v. Connor, 490 U.S. 386, 395, (1989)), and inadequate allegations of personal
participation in a violation of law by some defendants, including Det. Sgt. McDonald.

        Thank you.

                                    Respectfully submitted,

                WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP




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                                    John M. Flannery

cc via ECF: all counsel of record




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                                                                                           Louis U. Gasparini, Esq.
                                                                                                            Partner
                                                                                       Direct Dial: (914) 458-3771
                                                                                 lgasparini@schwabgasparini.com


                                              June 10, 2025

Via ECF & Email to: romannysdchambers@nysd.uscourts.gov
Hon. Nelson Stephen Roman
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, New York 10601-4150

       Re:             Kevin Adams as the Administrator of the
                       Estate of Sean Harris v. The Town of Clarkstown, et. al.
       Docket No.      7:24-cv-05147-NSR
       Our File:       113.1073

Dear Judge Roman:

        As you are aware, our law firm represents Defendants, Access: Supports for Living
(hereinafter “Access”) and Access Caseworkers Jane Does #1-2, in regard to the above subject
action. We write in response to plaintiff’s counsel’s letter of June 4, 2025, seeking a pre-motion
conference with respect to a contemplated motion to amend the Complaint.

        Upon reviewing plaintiff’s proposed Amended Complaint, it is pointed out that with
respect to the Access Defendants, the only substantive changes are to identify Access as “Access
Supports for Living (CARES Team)” and the Jane Doe Case Workers as Maureen Hyatt and
Claritza Morales, both in the caption and the body of the proposed amended pleading. There are
no different or further claims asserted against the identified Access parties, neither factually nor
legally when compared with those asserted in the original Complaint.

        While the Access Defendants have no objection to plaintiff’s request for a pre-motion
conference, it is respectfully requested that assuming plaintiff is granted leave to amend the
Complaint, that the Access Defendants’ pending Motion to Dismiss be decided without the need
for any of the parties to re-brief the matter, as the only changes between the original Complaint
and the proposed Amended Complaint, as it pertains to the Access Defendants, are to specifically
identify the Access Cares Team and the who employees who responded. Therefore, it is requested
that assuming plaintiff is granted leave to serve the proposed Amended Complaint, that the Access
Defendants’ previously filed Motion to Dismiss be considered a Motion to Dismiss the Amended
Complaint.
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      Thank you for the Court’s attention to this matter.

                                            Very truly yours,

                                            SCHWAB & GASPARINI, PLLC



                                            BY:__________________________
                                                  LOUIS U. GASPARINI
                                                  Partner

cc:   Via ECF & Email to: dcohen@nfllp.com
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